       Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 1 of 30




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DONNA CAVE, et al.,                                                                PLAINTIFFS

EUGENE LEVY, et al.,                                          CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                                    INTERVENORS

v.                                  Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                                DEFENDANT

                                            NOTICE

       Pending before the Court are several discovery-related motions (Dkt. Nos. 74, 79, 82, 93,

104, 110). The Court reached out to the parties via electronic mail to determine when a telephonic

hearing on the motions could be held, if necessary. The Court’s electronic mail message to all

counsel and counsels’ responses are attached hereto as Court’s Exhibit A.

       In accordance with those responses, the Court will hold a conference with the parties via

telephone on Wednesday, February 26, 2020, at 3:00 p.m. C.T. The call-in information for the

telephonic hearing is as follows:

       -   Dial-in number:    (877) 402-9753

       -   Access code:       5922777

       So ordered this the 24th day of February 2020.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 2 of 30




        Exhibit A
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 3 of 30


From:              Michael Cantrell
To:                Jared Lax; Matthew A. Kezhaya
Cc:                aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com; mstambaugh@rodey.com;
                   gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan Jacobs;
                   gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov; hsasser@firstliberty.org;
                   lepatterson@firstliberty.org; mberry@firstliberty.org; vincent.wagner_arkansasag.gov; William C. Bird III;
                   stu.dehaan_gmail.com; paul@paulbyrdlawfirm.com; Tracy Washington; Sonia A. Kezhaya; Josie Graves; Tracy
                   Washington
Subject:           RE: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:              Monday, February 24, 2020 9:50:58 AM
Attachments:       image001.png
                   image002.png
                   image003.png
                   image004.png
                   image005.png
                   image006.png


Mr. Lax,

I am available Wednesday, Thursday, and Friday between 3:00 and 5:00 p.m. I have previous
commitments all day Tuesday as well as a commitment beginning at 5:00 p.m. on Wednesday
evening.

Please also note that, in light of new information, and to simplify the issues before the Court at any
hearing, Defendant plans to file a notice this morning withdrawing his Second Motion to Compel
Discovery from Satanic Temple Intervenors.

Regards,

Michael A. Cantrell
Assistant Solicitor General
Office of Arkansas Attorney General Leslie Rutledge

323 Center Street, Suite 200
Little Rock, Arkansas 72201
Office: 501.682.2401 ¦ Fax: 501.682.2591
Michael.Cantrell@ArkansasAG.gov ¦ ArkansasAG.gov




From: Jared Lax <Jared_Lax@ared.uscourts.gov>
Sent: Friday, February 21, 2020 4:37 PM
To: Matthew A. Kezhaya <matt@kezhaya.law>; Michael Cantrell <michael.cantrell@arkansasag.gov>
Cc: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org;
patrick@ffrf.org; Dylan Jacobs <dylan.jacobs@arkansasag.gov>; gary.sullivan@sos.arkansas.gov;
Nicholas Bronni <nicholas.bronni@arkansasag.gov>; hsasser@firstliberty.org;
lepatterson@firstliberty.org; mberry@firstliberty.org; Vincent Wagner
<vincent.wagner@arkansasag.gov>; William C. Bird III <william.bird@arkansasag.gov>;
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 4 of 30


stu.dehaan_gmail.com <stu.dehaan@gmail.com>; paul@paulbyrdlawfirm.com; Tracy Washington
<Tracy_Washington@ared.uscourts.gov>; Sonia A. Kezhaya <sonia@kezhaya.law>; Josie Graves
<josie@kezhaya.law>; Tracy Washington <Tracy_Washington@ared.uscourts.gov>
Subject: RE: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB

Counsel:

In the light of the below emails from Mr. Kezhaya and Mr. Cantrell, the Court still asks all counsel to
advise regarding availability for a hearing on the dates and times offered in my previous email.

If you have not already done so, please provide such availability in an email to the Court by noon on
Monday, February 24.

Best,

Jared Lax
Law Clerk to the Honorable Kristine G. Baker
U.S. District Court, Eastern District of Arkansas
500 West Capitol Avenue, Room D444
Little Rock, Arkansas 72201
jared_lax@ared.uscourts.gov
(501) 604-5423

From: Matthew A. Kezhaya <matt@kezhaya.law>
Sent: Friday, February 21, 2020 4:07 PM
To: Michael Cantrell <michael.cantrell@arkansasag.gov>
Cc: Jared Lax <Jared_Lax@ared.uscourts.gov>; aschultz@rodey.com;
jburnett@laveyandburnett.com; josh@greenandgillispie.com; mstambaugh@rodey.com;
gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan Jacobs
<dylan.jacobs@arkansasag.gov>; gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov
<nicholas.bronni@arkansasag.gov>; hsasser@firstliberty.org; lepatterson@firstliberty.org;
mberry@firstliberty.org; vincent.wagner_arkansasag.gov <vincent.wagner@arkansasag.gov>;
William C. Bird III <william.bird@arkansasag.gov>; stu.dehaan_gmail.com <stu.dehaan@gmail.com>;
paul@paulbyrdlawfirm.com; Tracy Washington <Tracy_Washington@ared.uscourts.gov>; Sonia A.
Kezhaya <sonia@kezhaya.law>; Josie Graves <josie@kezhaya.law>
Subject: Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB

Jared,

TST requests a hearing on all outstanding motions.

Matthew A. Kezhaya

Kezhaya Law PLC
1202 NE McClain Rd
Bentonville, AR 72712
p: (479) 431-6112
      Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 5 of 30


f: (479) 282-2892
e: matt@kezhaya.law

This message may contain confidential or privileged information and was
intended for a particular recipient. If it appears that I sent this to you in error,
please inform me and delete this message.


On Fri, Feb 21, 2020 at 4:03 PM Michael Cantrell <michael.cantrell@arkansasag.gov> wrote:
  Mr. Lax,

  Thanks for your message. Given that the Court is prepared to rule on the pending discovery
  motions within the next week, Defendant respectfully withdraws his request for a hearing.

  Regards,

  Mike


  Michael A. Cantrell
  Assistant Solicitor General
  Office of Arkansas Attorney General Leslie Rutledge

  323 Center Street, Suite 200
  Little Rock, Arkansas 72201
  Office: 501.682.2401 ¦ Fax: 501.682.2591
  Michael.Cantrell@ArkansasAG.gov ¦ ArkansasAG.gov




  From: Jared Lax <Jared_Lax@ared.uscourts.gov>
  Sent: Friday, February 21, 2020 3:26 PM
  To: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
  mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org;
  patrick@ffrf.org; Dylan Jacobs <dylan.jacobs@arkansasag.gov>; gary.sullivan@sos.arkansas.gov;
  Nicholas Bronni <nicholas.bronni@arkansasag.gov>; hsasser@firstliberty.org;
  lepatterson@firstliberty.org; mberry@firstliberty.org; Michael Cantrell
  <michael.cantrell@arkansasag.gov>; Vincent Wagner <vincent.wagner@arkansasag.gov>; William
  C. Bird III <william.bird@arkansasag.gov>; matt@kezhaya.law; stu.dehaan_gmail.com
  <stu.dehaan@gmail.com>; paul@paulbyrdlawfirm.com
  Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
  Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB

  Counsel:
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 6 of 30



The Court writes regarding defendant’s motion for hearing regarding the pending discovery
motions in this matter filed yesterday (Dkt. No. 110).

The Court has under advisement and is prepared to rule on the pending discovery motions within
the next week. The Court will hold its written ruling and proceed to conduct a hearing on these
pending motions prior to ruling, given defendant’s motion for hearing, unless the parties advise
otherwise.

The Court is available after 3:00 p.m. any afternoon next week from Tuesday, February 25,
through Friday, February 28, for a hearing. The Court is willing to conduct such a hearing in
person or by telephone. The Court directs all counsel to advise the Court by email of their
availability for all of those dates and times.

Please advise.

Jared Lax
Law Clerk to the Honorable Kristine G. Baker
U.S. District Court, Eastern District of Arkansas
500 West Capitol Avenue, Room D444
Little Rock, Arkansas 72201
jared_lax@ared.uscourts.gov
(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 7 of 30


From:           Gerry Schulze
To:             Jared Lax
Cc:             Matthew A. Kezhaya; Michael Cantrell; aschultz@rodey.com; jburnett@laveyandburnett.com;
                josh@greenandgillispie.com; mstambaugh@rodey.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan
                Jacobs; gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov; hsasser@firstliberty.org;
                lepatterson@firstliberty.org; mberry@firstliberty.org; vincent.wagner_arkansasag.gov; William C. Bird III;
                stu.dehaan_gmail.com; paul@paulbyrdlawfirm.com; Tracy Washington; Sonia A. Kezhaya; Josie Graves; Helena
                Schulze
Subject:        Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:           Friday, February 21, 2020 9:11:21 PM
Attachments:    image001.png
                image002.png
                image003.png
                image004.png
                image005.png
                image006.png


I have client appointments every afternoon but Friday. I can probably reschedule all but
Tuesday's. The client coming in Tuesday will be coming from out of state.
J.G. "Gerry" Schulze
Attorney at Law
Baker Schulze & Murphy
2311 Biscayne Drive
Little Rock, AR 72227
Telephone (501) 537-1000
Fax (501) 537-1001
gschulze@b-s-m-law.com
gschulze@bsmp.law
www.bsmp.law




On Fri, Feb 21, 2020 at 4:36 PM Jared Lax <Jared_Lax@ared.uscourts.gov> wrote:

  Counsel:



  In the light of the below emails from Mr. Kezhaya and Mr. Cantrell, the Court still asks all
  counsel to advise regarding availability for a hearing on the dates and times offered in my
  previous email.



  If you have not already done so, please provide such availability in an email to the Court by
  noon on Monday, February 24.



  Best,



  Jared Lax
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 8 of 30


Law Clerk to the Honorable Kristine G. Baker

U.S. District Court, Eastern District of Arkansas

500 West Capitol Avenue, Room D444

Little Rock, Arkansas 72201

jared_lax@ared.uscourts.gov

(501) 604-5423



From: Matthew A. Kezhaya <matt@kezhaya.law>
Sent: Friday, February 21, 2020 4:07 PM
To: Michael Cantrell <michael.cantrell@arkansasag.gov>
Cc: Jared Lax <Jared_Lax@ared.uscourts.gov>; aschultz@rodey.com;
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paul@paulbyrdlawfirm.com; Tracy Washington <Tracy_Washington@ared.uscourts.gov>;
Sonia A. Kezhaya <sonia@kezhaya.law>; Josie Graves <josie@kezhaya.law>
Subject: Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



Jared,



TST requests a hearing on all outstanding motions.



Matthew A. Kezhaya



Kezhaya Law PLC

1202 NE McClain Rd

Bentonville, AR 72712

p: (479) 431-6112

f: (479) 282-2892
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 9 of 30



e: matt@kezhaya.law



This message may contain confidential or privileged information and was
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error, please inform me and delete this message.




On Fri, Feb 21, 2020 at 4:03 PM Michael Cantrell <michael.cantrell@arkansasag.gov>
wrote:

  Mr. Lax,



  Thanks for your message. Given that the Court is prepared to rule on the pending
  discovery motions within the next week, Defendant respectfully withdraws his request for
  a hearing.



  Regards,



  Mike




  Michael A. Cantrell

  Assistant Solicitor General

  Office of Arkansas Attorney General Leslie Rutledge




  323 Center Street, Suite 200

  Little Rock, Arkansas 72201

  Office: 501.682.2401 ¦ Fax: 501.682.2591

  Michael.Cantrell@ArkansasAG.gov ¦ ArkansasAG.gov
Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 10 of 30




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mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org;
patrick@ffrf.org; Dylan Jacobs <dylan.jacobs@arkansasag.gov>;
gary.sullivan@sos.arkansas.gov; Nicholas Bronni <nicholas.bronni@arkansasag.gov>;
hsasser@firstliberty.org; lepatterson@firstliberty.org; mberry@firstliberty.org; Michael
Cantrell <michael.cantrell@arkansasag.gov>; Vincent Wagner
<vincent.wagner@arkansasag.gov>; William C. Bird III <william.bird@arkansasag.gov>;
matt@kezhaya.law; stu.dehaan_gmail.com <stu.dehaan@gmail.com>;
paul@paulbyrdlawfirm.com
Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



Counsel:



The Court writes regarding defendant’s motion for hearing regarding the pending
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Please advise.
Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 11 of 30


Jared Lax

Law Clerk to the Honorable Kristine G. Baker

U.S. District Court, Eastern District of Arkansas

500 West Capitol Avenue, Room D444

Little Rock, Arkansas 72201

jared_lax@ared.uscourts.gov

(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 12 of 30


From:           Joshua Gillispie
To:             Jared Lax
Cc:             Matthew A. Kezhaya; Michael Cantrell; aschultz@rodey.com; jburnett@laveyandburnett.com;
                mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan
                Jacobs; gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov; hsasser@firstliberty.org;
                lepatterson@firstliberty.org; mberry@firstliberty.org; vincent.wagner_arkansasag.gov; William C. Bird III;
                stu.dehaan_gmail.com; paul@paulbyrdlawfirm.com; Tracy Washington; Sonia A. Kezhaya; Josie Graves
Subject:        Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:           Friday, February 21, 2020 7:44:51 PM
Attachments:    image001.png
                image002.png
                image003.png
                image004.png
                image005.png
                image006.png


Mr. Lax,

I am available the afternoons of February 25, 26, and 27. Thanks for your time on ths.

Josh

Joshua D. Gillispie

1 Riverfront Place, Suite 605
North Little Rock, AR 72114
(501) 244-0700
(501) 244-2020 fax
www.greenandgillispie.com


On Fri, Feb 21, 2020 at 4:36 PM Jared Lax <Jared_Lax@ared.uscourts.gov> wrote:

  Counsel:



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  noon on Monday, February 24.



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  Jared Lax
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 13 of 30



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jared_lax@ared.uscourts.gov

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From: Matthew A. Kezhaya <matt@kezhaya.law>
Sent: Friday, February 21, 2020 4:07 PM
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Cc: Jared Lax <Jared_Lax@ared.uscourts.gov>; aschultz@rodey.com;
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gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan Jacobs
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hsasser@firstliberty.org; lepatterson@firstliberty.org; mberry@firstliberty.org;
vincent.wagner_arkansasag.gov <vincent.wagner@arkansasag.gov>; William C. Bird III
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paul@paulbyrdlawfirm.com; Tracy Washington <Tracy_Washington@ared.uscourts.gov>;
Sonia A. Kezhaya <sonia@kezhaya.law>; Josie Graves <josie@kezhaya.law>
Subject: Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



Jared,



TST requests a hearing on all outstanding motions.



Matthew A. Kezhaya



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p: (479) 431-6112
  Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 14 of 30


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e: matt@kezhaya.law



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  Mike




  Michael A. Cantrell

  Assistant Solicitor General

  Office of Arkansas Attorney General Leslie Rutledge




  323 Center Street, Suite 200

  Little Rock, Arkansas 72201

  Office: 501.682.2401 ¦ Fax: 501.682.2591

  Michael.Cantrell@ArkansasAG.gov ¦ ArkansasAG.gov
Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 15 of 30




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To: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org;
patrick@ffrf.org; Dylan Jacobs <dylan.jacobs@arkansasag.gov>;
gary.sullivan@sos.arkansas.gov; Nicholas Bronni <nicholas.bronni@arkansasag.gov>;
hsasser@firstliberty.org; lepatterson@firstliberty.org; mberry@firstliberty.org; Michael
Cantrell <michael.cantrell@arkansasag.gov>; Vincent Wagner
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matt@kezhaya.law; stu.dehaan_gmail.com <stu.dehaan@gmail.com>;
paul@paulbyrdlawfirm.com
Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



Counsel:



The Court writes regarding defendant’s motion for hearing regarding the pending
discovery motions in this matter filed yesterday (Dkt. No. 110).



The Court has under advisement and is prepared to rule on the pending discovery motions
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Please advise.
Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 16 of 30




Jared Lax

Law Clerk to the Honorable Kristine G. Baker

U.S. District Court, Eastern District of Arkansas

500 West Capitol Avenue, Room D444

Little Rock, Arkansas 72201

jared_lax@ared.uscourts.gov

(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 17 of 30


From:           Andy Schultz
To:             Jared Lax; "jburnett@laveyandburnett.com"; "josh@greenandgillispie.com"; Melanie Stambaugh; "gerrysch@b-s-
                m-law.com"; "mmiller@americanhumanist.org"; "patrick@ffrf.org"; "dylan.jacobs@arkansasag.gov";
                "gary.sullivan@sos.arkansas.gov"; nicholas.bronni_arkansasag.gov; "hsasser@firstliberty.org";
                "lepatterson@firstliberty.org"; "mberry@firstliberty.org"; "michael.cantrell@arkansasag.gov";
                vincent.wagner_arkansasag.gov; "william.bird@arkansasag.gov"; "matt@kezhaya.law"; stu.dehaan_gmail.com;
                "paul@paulbyrdlawfirm.com"
Cc:             Tracy Washington
Subject:        RE: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:           Friday, February 21, 2020 4:49:40 PM



Mr. Lax:

I am available to appear by telephone at a hearing on the afternoons of either
February 25, 26 or 27. I am not available to appear on the afternoon of Friday,
February 28.

,DSSUHFLDWHWKH&RXUW·VZLOOLQJQHVVWRDOORZPHWRDSSHDUE\SKRQH

$QGUHZ*6FKXOW]
5RGH\/DZ)LUP
P.O. Box 1888
Albuquerque NM 87103
(505) 768-7205 (direct)
(505) 768-7395 (fax)
DVFKXOW]#URGH\FRP

Counsel for Cave Plaintiffs.


From: Jared Lax [mailto:Jared_Lax@ared.uscourts.gov]
Sent: Friday, February 21, 2020 2:26 PM
To: Andy Schultz; jburnett@laveyandburnett.com; josh@greenandgillispie.com; Melanie Stambaugh;
gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org;
dylan.jacobs@arkansasag.gov; gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov;
hsasser@firstliberty.org; lepatterson@firstliberty.org; mberry@firstliberty.org;
michael.cantrell@arkansasag.gov; vincent.wagner_arkansasag.gov; william.bird@arkansasag.gov;
matt@kezhaya.law; stu.dehaan_gmail.com; paul@paulbyrdlawfirm.com
Cc: Tracy Washington
Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB

This email was sent from someone outside of the Rodey email system.



Counsel:

The Court writes regarding defendant’s motion for hearing regarding the pending discovery motions
in this matter filed yesterday (Dkt. No. 110).

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     Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 18 of 30


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those dates and times.

Please advise.

Jared Lax
Law Clerk to the Honorable Kristine G. Baker
U.S. District Court, Eastern District of Arkansas
500 West Capitol Avenue, Room D444
Little Rock, Arkansas 72201
jared_lax@ared.uscourts.gov
(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 19 of 30


From:              Paul Byrd
To:                Jared Lax
Cc:                aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com; mstambaugh@rodey.com;
                   gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; dylan.jacobs@arkansasag.gov;
                   gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov; hsasser@firstliberty.org;
                   lepatterson@firstliberty.org; mberry@firstliberty.org; michael.cantrell@arkansasag.gov;
                   vincent.wagner_arkansasag.gov; william.bird@arkansasag.gov; matt@kezhaya.law; stu.dehaan_gmail.com;
                   Tracy Washington
Subject:           Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:              Friday, February 21, 2020 4:43:49 PM


Mr. Lax,

I represent Jason Rapert in this matter who has been a witness.

I am Court ordered by the 10 Circuit to be at an appeal mediation on February 27, and 28 in
Denver, Colorado in a multiparty case.

I have a court matter that my clients want me to attend of a criminal matter in which my client
was a victim. This occurs on February 24 and 25. If I find that this matter has changed or has
been rescheduled, I will alert the Court as soon as I know on Monday.

Thank you for your consideration.

Paul Byrd




        On Feb 21, 2020, at 3:26 PM, Jared Lax <Jared_Lax@ared.uscourts.gov> wrote:



        Counsel:

        The Court writes regarding defendant’s motion for hearing regarding the pending
        discovery motions in this matter filed yesterday (Dkt. No. 110).

        The Court has under advisement and is prepared to rule on the pending discovery
        motions within the next week. The Court will hold its written ruling and proceed to
        conduct a hearing on these pending motions prior to ruling, given defendant’s motion
        for hearing, unless the parties advise otherwise.

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        25, through Friday, February 28, for a hearing. The Court is willing to conduct such a
        hearing in person or by telephone. The Court directs all counsel to advise the Court by
        email of their availability for all of those dates and times.

        Please advise.
Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 20 of 30



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500 West Capitol Avenue, Room D444
Little Rock, Arkansas 72201
jared_lax@ared.uscourts.gov
(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 21 of 30


From:           Matthew A. Kezhaya
To:             Michael Cantrell
Cc:             Jared Lax; aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
                mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan
                Jacobs; gary.sullivan@sos.arkansas.gov; nicholas.bronni_arkansasag.gov; hsasser@firstliberty.org;
                lepatterson@firstliberty.org; mberry@firstliberty.org; vincent.wagner_arkansasag.gov; William C. Bird III;
                stu.dehaan_gmail.com; paul@paulbyrdlawfirm.com; Tracy Washington; Sonia A. Kezhaya; Josie Graves
Subject:        Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:           Friday, February 21, 2020 4:07:51 PM
Attachments:    image001.png
                image002.png
                image003.png
                image004.png
                image005.png
                image006.png


Jared,

TST requests a hearing on all outstanding motions.

Matthew A. Kezhaya

Kezhaya Law PLC
1202 NE McClain Rd
Bentonville, AR 72712
p: (479) 431-6112
f: (479) 282-2892
e: matt@kezhaya.law

This message may contain confidential or privileged information and was
intended for a particular recipient. If it appears that I sent this to you in
error, please inform me and delete this message.


On Fri, Feb 21, 2020 at 4:03 PM Michael Cantrell <michael.cantrell@arkansasag.gov> wrote:

 Mr. Lax,



 Thanks for your message. Given that the Court is prepared to rule on the pending discovery
 motions within the next week, Defendant respectfully withdraws his request for a hearing.



 Regards,



 Mike
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 22 of 30



Michael A. Cantrell

Assistant Solicitor General

Office of Arkansas Attorney General Leslie Rutledge




323 Center Street, Suite 200

Little Rock, Arkansas 72201

Office: 501.682.2401 ¦ Fax: 501.682.2591

Michael.Cantrell@ArkansasAG.gov ¦ ArkansasAG.gov




From: Jared Lax <Jared_Lax@ared.uscourts.gov>
Sent: Friday, February 21, 2020 3:26 PM
To: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org;
patrick@ffrf.org; Dylan Jacobs <dylan.jacobs@arkansasag.gov>;
gary.sullivan@sos.arkansas.gov; Nicholas Bronni <nicholas.bronni@arkansasag.gov>;
hsasser@firstliberty.org; lepatterson@firstliberty.org; mberry@firstliberty.org; Michael
Cantrell <michael.cantrell@arkansasag.gov>; Vincent Wagner
<vincent.wagner@arkansasag.gov>; William C. Bird III <william.bird@arkansasag.gov>;
matt@kezhaya.law; stu.dehaan_gmail.com <stu.dehaan@gmail.com>;
paul@paulbyrdlawfirm.com
Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



Counsel:



The Court writes regarding defendant’s motion for hearing regarding the pending discovery
motions in this matter filed yesterday (Dkt. No. 110).



The Court has under advisement and is prepared to rule on the pending discovery motions
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 23 of 30


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Please advise.



Jared Lax

Law Clerk to the Honorable Kristine G. Baker

U.S. District Court, Eastern District of Arkansas

500 West Capitol Avenue, Room D444

Little Rock, Arkansas 72201

jared_lax@ared.uscourts.gov

(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 24 of 30


From:              Michael Cantrell
To:                Jared Lax; aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
                   mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org; Dylan
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                   lepatterson@firstliberty.org; mberry@firstliberty.org; vincent.wagner_arkansasag.gov; William C. Bird III;
                   matt@kezhaya.law; stu.dehaan_gmail.com; paul@paulbyrdlawfirm.com
Cc:                Tracy Washington
Subject:           RE: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:              Friday, February 21, 2020 4:04:14 PM
Attachments:       image001.png
                   image002.png
                   image003.png
                   image004.png
                   image005.png
                   image006.png


Mr. Lax,

Thanks for your message. Given that the Court is prepared to rule on the pending discovery motions
within the next week, Defendant respectfully withdraws his request for a hearing.

Regards,

Mike


Michael A. Cantrell
Assistant Solicitor General
Office of Arkansas Attorney General Leslie Rutledge

323 Center Street, Suite 200
Little Rock, Arkansas 72201
Office: 501.682.2401 ¦ Fax: 501.682.2591
Michael.Cantrell@ArkansasAG.gov ¦ ArkansasAG.gov




From: Jared Lax <Jared_Lax@ared.uscourts.gov>
Sent: Friday, February 21, 2020 3:26 PM
To: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org;
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Nicholas Bronni <nicholas.bronni@arkansasag.gov>; hsasser@firstliberty.org;
lepatterson@firstliberty.org; mberry@firstliberty.org; Michael Cantrell
<michael.cantrell@arkansasag.gov>; Vincent Wagner <vincent.wagner@arkansasag.gov>; William C.
Bird III <william.bird@arkansasag.gov>; matt@kezhaya.law; stu.dehaan_gmail.com
<stu.dehaan@gmail.com>; paul@paulbyrdlawfirm.com
Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
     Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 25 of 30


Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB

Counsel:

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        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 26 of 30


From:           Matthew A. Kezhaya
To:             Gary Sullivan
Cc:             Jared Lax; aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
                mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org;
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                lepatterson@firstliberty.org; mberry@firstliberty.org; michael.cantrell@arkansasag.gov;
                vincent.wagner_arkansasag.gov; william.bird@arkansasag.gov; stu.dehaan_gmail.com;
                paul@paulbyrdlawfirm.com; Tracy Washington
Subject:        Re: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:           Friday, February 21, 2020 4:02:34 PM


Dear Judge,

I am available each of those days and will block out my schedule. With
leave of Court, TST prefers to appear by teleconference.

Matthew A. Kezhaya

Kezhaya Law PLC
1202 NE McClain Rd
Bentonville, AR 72712
p: (479) 431-6112
f: (479) 282-2892
e: matt@kezhaya.law

This message may contain confidential or privileged information and was
intended for a particular recipient. If it appears that I sent this to you in
error, please inform me and delete this message.


On Fri, Feb 21, 2020 at 3:30 PM Gary Sullivan <gary.sullivan@sos.arkansas.gov> wrote:

  I am available all of the dates/times noted.



  Gary L. Sullivan

  Managing Attorney

  Arkansas Secretary of State

  Suite 256- State Capitol

  500 Woodlane Street

  Little Rock, AR 72201

  Telephone: (501) 682-3401

  Fax: (501) 682-1213
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 27 of 30




From: Jared Lax <Jared_Lax@ared.uscourts.gov>
Sent: Friday, February 21, 2020 3:26 PM
To: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
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stu.dehaan_gmail.com <stu.dehaan@gmail.com>; paul@paulbyrdlawfirm.com
Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



External Message
Counsel:



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Jared Lax
   Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 28 of 30



Law Clerk to the Honorable Kristine G. Baker

U.S. District Court, Eastern District of Arkansas

500 West Capitol Avenue, Room D444

Little Rock, Arkansas 72201

jared_lax@ared.uscourts.gov

(501) 604-5423
        Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 29 of 30


From:            Gary Sullivan
To:              Jared Lax; aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
                 mstambaugh@rodey.com; gerrysch@b-s-m-law.com; mmiller@americanhumanist.org; patrick@ffrf.org;
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                 paul@paulbyrdlawfirm.com
Cc:              Tracy Washington
Subject:         RE: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB
Date:            Friday, February 21, 2020 3:30:19 PM


I am available all of the dates/times noted.

Gary L. Sullivan
Managing Attorney
Arkansas Secretary of State
Suite 256- State Capitol
500 Woodlane Street
Little Rock, AR 72201
Telephone: (501) 682-3401
Fax: (501) 682-1213




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To: aschultz@rodey.com; jburnett@laveyandburnett.com; josh@greenandgillispie.com;
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patrick@ffrf.org; dylan.jacobs@arkansasag.gov; Gary Sullivan <gary.sullivan@sos.arkansas.gov>;
nicholas.bronni_arkansasag.gov <nicholas.bronni@arkansasag.gov>; hsasser@firstliberty.org;
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vincent.wagner_arkansasag.gov <vincent.wagner@arkansasag.gov>; william.bird@arkansasag.gov;
matt@kezhaya.law; stu.dehaan_gmail.com <stu.dehaan@gmail.com>; paul@paulbyrdlawfirm.com
Cc: Tracy Washington <Tracy_Washington@ared.uscourts.gov>
Subject: Motion for Hearing re: Cave v. Thurston, 4:18-cv-00342-KGB



External Message
Counsel:

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     Case 4:18-cv-00342-KGB Document 113-1 Filed 02/24/20 Page 30 of 30



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